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                EXHIBIT 5
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                                                 Monday, March 3, 2025



                                                 Title 3—                                            Executive Order 14222 of February 26, 2025

                                                 The President                                       Implementing the President’s ‘‘Department of Government Ef-
                                                                                                     ficiency’’ Cost Efficiency Initiative

                                                                                                     By the authority vested in me as President by the Constitution and the
                                                                                                     laws of the United States of America, it is hereby ordered:
                                                                                                     Section 1. Purpose. This order commences a transformation in Federal spend-
                                                                                                     ing on contracts, grants, and loans to ensure Government spending is trans-
                                                                                                     parent and Government employees are accountable to the American public.
                                                                                                     Sec. 2. Definitions. As used in this order:
                                                                                                       (a) ‘‘Administrator’’ means the Administrator of the United States DOGE
                                                                                                     Service, as defined in Executive Order 14158 of January 20, 2025 (Establishing
                                                                                                     and Implementing the President’s ‘‘Department of Government Efficiency’’).
                                                                                                        (b) ‘‘Agency’’ has the meaning given to that term in section 3502 of
                                                                                                     title 44, United States Code, except that such term does not include the
                                                                                                     Executive Office of the President or any components thereof.
                                                                                                        (c) ‘‘Agency Head’’ means the highest-ranking official of an agency, such
                                                                                                     as the Secretary, Administrator, Chairman, or Director. Agency Heads may
                                                                                                     select designees within their agencies to carry out the responsibilities speci-
                                                                                                     fied in this order.
                                                                                                       (d) ‘‘Covered contracts and grants’’ means discretionary spending through
                                                                                                     Federal contracts, grants, loans, and related instruments, but excludes direct
                                                                                                     assistance to individuals; expenditures related to immigration enforcement,
                                                                                                     law enforcement, the military, public safety, and the intelligence community;
                                                                                                     and other critical, acute, or emergency spending, as determined by the
                                                                                                     relevant Agency Head. Notification shall be made to the agency’s DOGE
                                                                                                     Team Lead.
                                                                                                       (e) ‘‘DOGE Team Lead’’ means the leader of the DOGE Team at each
                                                                                                     agency, as defined in Executive Order 14158.
                                                                                                     Sec. 3. Cutting Costs to Save Taxpayers Money. (a) Contract and Grant
                                                                                                     Justification. Each Agency Head shall, with assistance as requested from
                                                                                                     the agency’s DOGE Team Lead, build a centralized technological system
                                                                                                     within the agency to seamlessly record every payment issued by the agency
                                                                                                     pursuant to each of the agency’s covered contracts and grants, along with
                                                                                                     a brief, written justification for each payment submitted by the agency
                                                                                                     employee who approved the payment. This system shall include a mechanism
                                                                                                     for the Agency Head to pause and rapidly review any payment for which
                                                                                                     the approving employee has not submitted a brief, written justification within
                                                                                                     the technological system.
                                                                                                       (i) Once the system described in subsection (a) of this section is in place,
                                                                                                       the Agency Head shall issue guidance, in consultation with the agency’s
                                                                                                       DOGE Team Lead, to require that the relevant agency employee promptly
                                                                                                       submit a brief, written justification prior to that employee’s approval of
                                                                                                       a payment under covered contracts and grants, subject to any exceptions
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                                                                                                       the Agency Head deems appropriate.
                                                                                                       (ii) To the maximum extent permitted by law, and to the maximum
                                                                                                       extent deemed practicable by the Agency Head, the payment justifications
                                                                                                       described in subsection (a)(i) of this section shall be posted publicly.
                                                                                                       (b) Review of Covered Contracts and Grants. Each Agency Head, in con-
                                                                                                     sultation with the agency’s DOGE Team Lead, shall review all existing


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                                                                                                     covered contracts and grants and, where appropriate and consistent with
                                                                                                     applicable law, terminate or modify (including through renegotiation) such
                                                                                                     covered contracts and grants to reduce overall Federal spending or reallocate
                                                                                                     spending to promote efficiency and advance the policies of my Administra-
                                                                                                     tion. This process shall commence immediately and shall prioritize the
                                                                                                     review of funds disbursed under covered contracts and grants to educational
                                                                                                     institutions and foreign entities for waste, fraud, and abuse. Each Agency
                                                                                                     Head shall complete this review within 30 days of the date of this order.
                                                                                                       (c) Contract and Grant Process Review. Each Agency Head, in consultation
                                                                                                     with the agency’s DOGE Team Lead, shall conduct a comprehensive review
                                                                                                     of each agency’s contracting policies, procedures, and personnel. Each Agen-
                                                                                                     cy Head shall complete this process within 30 days of the date of this
                                                                                                     order and shall not issue or approve new contracting officer warrants during
                                                                                                     the review period, unless the Agency Head determines such approval is
                                                                                                     necessary.
                                                                                                       (d) Covered Contract and Grant Approval.
                                                                                                       (i) Following the review specified in subsection (c) of this section, and
                                                                                                       prior to entering into new contracts, each Agency Head shall, in consulta-
                                                                                                       tion with the agency’s DOGE Team Lead, issue guidance on signing new
                                                                                                       contracts or modifying existing contracts to promote Government efficiency
                                                                                                       and the policies of my Administration. The Agency Head may approve
                                                                                                       new contracts prior to the issuance of such guidance on a case-by-case
                                                                                                       basis.
                                                                                                        (ii) Each DOGE Team Lead shall provide the Administrator with a monthly
                                                                                                        informational report on contracting activities. As soon as an agency’s
                                                                                                        contract and grant justification process described in subsection (a) of this
                                                                                                        section is established, this report shall include all payment justifications
                                                                                                        provided pursuant to that process, to the extent consistent with law.
                                                                                                        (e) Non-Essential Travel Justification. Each Agency Head shall, with assist-
                                                                                                     ance from the agency’s DOGE Team Lead, build a technological system
                                                                                                     within each agency that centrally records approval for federally funded
                                                                                                     travel for conferences and other non-essential purposes. Once an agency’s
                                                                                                     system is in place, the Agency Head shall prohibit agency employees from
                                                                                                     engaging in federally funded travel for conferences or other non-essential
                                                                                                     purposes unless the travel-approving official has submitted a brief, written
                                                                                                     justification for the federally funded travel within such system. Each DOGE
                                                                                                     Team Lead shall, to the extent consistent with law, provide the Administrator
                                                                                                     with a monthly informational report listing each agency’s justifications for
                                                                                                     non-essential travel. Such justifications shall be posted publicly unless pro-
                                                                                                     hibited by law or unless the Agency Head grants an exemption from this
                                                                                                     requirement.
                                                                                                       (f) Credit Card Freeze. To the maximum extent permitted by law, all
                                                                                                     credit cards held by agency employees shall be treated as frozen for 30
                                                                                                     days from the date of this order, except for any credit cards held by employees
                                                                                                     engaged in, or charges related to employees utilizing such credit cards
                                                                                                     for, disaster relief or natural disaster response benefits or operations or
                                                                                                     other critical services as determined by the Agency Head, and subject to
                                                                                                     such additional individualized or categorical exceptions as the Agency Head,
                                                                                                     in consultation with the agency’s DOGE Team Lead, deems appropriate.
                                                                                                       (g) Real Property Disposition. Agencies shall take the following actions:
                                                                                                       (i) Real Property Report. Within 7 days of the date of this order, each
                                                                                                       Agency Head shall confirm to the Administrator of General Services or
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                                                                                                       his designee that the Agency Head has submitted updates to the Federal
                                                                                                       Real Property Profile Management System to ensure the system reflects
                                                                                                       a complete and accurate inventory of real property subject to the agency’s
                                                                                                       administration.
                                                                                                       (ii) Real Property Leases. Within 30 days of the date of this order, each
                                                                                                       Agency Head shall promptly identify all termination rights the Agency
                                                                                                       Head may have under existing leases of Government-owned real property


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                                                                                                       and, in consultation with agency’s DOGE Team Lead and the Administrator
                                                                                                       of General Services or his designee, determine whether to exercise such
                                                                                                       rights.
                                                                                                       (iii) Real Property Disposition. Within 60 days of the date of this order,
                                                                                                       the Administrator of General Services shall submit a plan to the Director
                                                                                                       of the Office of Management and Budget (OMB) for the disposition of
                                                                                                       Government-owned real property which has been deemed by the agency
                                                                                                       as no longer needed.
                                                                                                     Sec. 4. General Exclusions. This order does not apply to:
                                                                                                       (a) Law enforcement officers, as defined in 5 U.S.C. 5541(3) and 5 CFR
                                                                                                     550.103, or covered contracts and grants directly related to the enforcement
                                                                                                     of Federal criminal or immigration law;
                                                                                                       (b) U.S. Customs and Border Protection and U.S. Immigration and Customs
                                                                                                     Enforcement in the Department of Homeland Security;
                                                                                                       (c) the Uniformed Services, as defined in 20 CFR 404.1330;
                                                                                                       (d) any other covered grant or contract, agency component, or real property
                                                                                                     that the relevant Agency Head exempts in writing from all or part of this
                                                                                                     order, in consultation with the agency’s DOGE Team Lead and the Director
                                                                                                     of OMB; or
                                                                                                       (e) classified information or classified information systems.
                                                                                                     Sec. 5. General Provisions. (a) Nothing in this order shall be construed
                                                                                                     to impair or otherwise affect:
                                                                                                       (i) the authority granted by law to an executive department or agency,
                                                                                                       or the head thereof; or
                                                                                                       (ii) the functions of the Director of the Office of Management and Budget
                                                                                                       relating to budgetary, administrative, or legislative proposals.
                                                                                                       (b) This order shall be implemented consistent with applicable law and
                                                                                                     subject to the availability of appropriations.
                                                                                                       (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                     substantive or procedural, enforceable at law or in equity by any party
                                                                                                     against the United States, its departments, agencies, or entities, its officers,
                                                                                                     employees, or agents, or any other person.
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                                                                                                     THE WHITE HOUSE,
                                                                                                     February 26, 2025.


                                                 [FR Doc. 2025–03527
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